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AO 91 (Rev. 5/85) Criminal Comp|aint

Ynited Statea District mert

SACHUSETTS

 

I)ISTRICT oF MAS

uNlTED sTATES oF AMERch
v.
oLEKle sHARAPKA, A/K/A ANDREw scHwAlleoFF CRIMINAL COMPLAINT

cAsE NuMaER: WA//' %0%0 JZA’
(Name and Address of Defendant)

|, the undersigned complainant being duly sworn state the following is true and correct to the best of my

ELSEWHERE
knowledge and belief. On or about NOVEMBER 5__,___?_0_04 in SUFFOLK COU__l\_l__`|_'_Y_ AND/ County, in the
__ District of __ |\/|ASS_AQ_H_USETTS defendant(s) did, (Track Statutory language of offense)

Knowingly, and with intent to defraud, produce, use or traffic in one or more counterfeit access devices; and knowing|y, and
with intent to defraud, possess fifteen or more devices which are counterfeit or unauthorized access devices; and knowing|y,
and with intent to defraud, produce, traffic in, have control or custody of, or possess device- making aquipment; and
knowing|y, and with intent defraud, use, produce, traffic in, have control or custody of or possess a scanning receiver; all

affecting interstate commerce

 

in violation of Tit|e 18 United States Code, Section(s)______ 1029

l further State that l am a(n) F_ _B___| __g_,__|:_>E_C_|A|_ AGENT and that this complaint is based on the following
6fticia|Title

facts:

SEE ATTACHMENT A

Continued on the attached sheet and made a part hereof: [)T] Yes |_i No

§§`j/»L ,4_§

Signature of Complainant

Sworn to before me and subscribed in my presence,

11-1__5-2_(_)0_¢_1 at _BOSTON, N|A____
n n City and State

 

Date

 
 

MAG|STRATE JUDGE JOYCE LONDON ALEXANDER
Name & Tit|e of Judicial Off'lcer

 

   

Signature of Judiciai Ofncer

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ATTACHMENT A

AFFlDAvlT '

I, Ch'ristopher A. Geary, beingl first duly sworn, hereby depose and state as follows:
INTRODUCTION
l. I submit this affidavit in support of an application for a search Warrant authorizing
the search of the following items and locations:
A. An HP Pavilion Laptop computer, model ZXSZSOUS, serial number
CND426ODCC, sent taken from the residence of Oleksiy Sharapka, 67
Euston Rd, 2nd floor, Brighton, MA on Novernber 5, 2004.
B. Th_e scanner, model number MSRZOG-?>HL, serial number A009524, taken
from the residence of Oleksiy Sharapka, 67 Euston Rd, an floor,
Brighton, MA on November 5, 2004.
C. Fed EX package addressed to Alexis Llanos, 1085 Commonwealth
Avenue, #169, Boston, MA 02215, from Kinko’s 0169, Waterville, Ohio,
Which was seized from the Mail Boxes Etc. located at 1085
Commonwealth Avenue, #169, Boston, MA 02215.
D. 59 White plastic cards, each With an encodeable magnetic strip, taken
from the residence of Oleksiy Sharapka, 67 Euston Rd, 2nd floor,
Brighton, MA on November 5, 2004.

E. Five T-mobile cellphones, including 3 Nokia telephones, l Sarnsung

telephone and l Sony telephone, each of Which Was taken from the

 

 

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residence of O]eksiy Sharapka, 67 Euston Rd, 2nd floor, Brighton, MA on
November 5, 2064.
F. Ten unopened envelopes sent from Netspend Corporation, P.O. Box
425 89, Austin, Texas 78704 to the following names: Deniss Bobrovski
(3); Andrei Volgin (3); and Aleksei Uskov (4), all of which feel as though
they contain a Netspend card, obtained from the ToWn Line ]nn, 735
Broadway, Malden, MA.
G. One Samsung flip telephone Which is currently in the custody of the
Nashua Street jail, amongst the personal possessions Of Oleksiy Sharapka,
a/k/a Andrew Schwarnkoff.
With the exception of the telephone described above in item G., each of the items to be searched
is currently in the possession of law enforcement, although none have been searched Based on
the facts stated herein, 1 have probable cause to believe that all of these items contain fruits,
instrumentalities and evidence of violations of Title 18 U.S.C. §1029.

2. 1 also submit this affidavit in support of a complaint charging Oleksiy Sharapka,
a/ka Andrew Schwaml<off` with Fraud and Related Activity in connection with Access Devices,
in violation of 18, United States Code, Section 1029. Based on the facts stated herein, 1 have
probable cause to believe that he has committed violations of this statute.

3. 1 am a Special Agent of the F ederal Bureau of Investigation (FBI) and have been
so employed for over five (5) years. l am currently assigned to the Boston Office of the FBl.
My duties include investigating computer system intrusions, intellectual property rights
violations, and lnternet fraud. l have received specialized training in investigating computer

crimes, including but not limited to understanding networks, electronic emai] tracing, computer

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logging, and other techniques used in investigating computer crimes. My experience includes
investigating cases involving the use of computers and the lnternet to commit violations of fraud,
intrusion, and intellectual property laws. 1 have received training and gained experience in
interviewing and interrogation techniques, arrest procedures, search Warrant applications, the
execution of searches and seizures, computer crimes involving computer intrusions and other
computer-based crimes, computer evidence identification, computer evidence seizure and
processing, and various other criminal laws and procedures 1 have personally participated in the
execution of search warrants involving the search and seizure of computer equipment.

4. 1 believe that probable cause exists to believe that the property described in
Attachment C of this affidavit, which constitutes evidence, fruits, and instrumentalities of Fraud
and Related Activity in connection with Access Devices, in violation of 18, United States Code,
Section 1029 will be found in the locations identified in Attachment B. This probable cause is
based on my investigation and on information and documents provided by other law
enforcement officers and investigators, including from the Secret Service, Boston Police,
l\/lassachusetts State Police, and the U.S. Postal lnspection Service.

5. Because this affidavit is being submitted for the limited purposes of seeking
authorization for search and arrest warrants, 1 have not set forth each and every fact learned
during the course of the investigation

_ lNVESTIGATION

6. 1n May 2004, Oleksiy Sharapka was arrested and charged in Atlanta, Georgia
with nine counts of Fraud and Related Activity in connection with Aoces_s Devices, in violation
of 18, United States Code, Section 1029. The charges involved the purchase and resale of

computer equipment using false or fraudulently obtained credit card information He was

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released on electronic monitoring Shortly thereafter, Sharapka violated his release conditions
by removing the monitoring device and apparently fleeing the jurisdiction An arrest warrant
was issued on July 2, 2004 by the United States District Court for the Northern District of
Georgia. l

7. Thereafter, on November 3, 2004, an individual in Massachusetts contacted the
U.S. Postal Service’s ldentity Fraud Task force and reported that someone, without her
knowledge o_r authorization was using her credit card to make purchases and was having those
purchases mailed to a Mail Boxes Etc. in Boston, Massachusetts. She became aware of this
information after being advised by Dell computer that someone was trying to use her credit card
to purchase a Dell computer to be sent to Deniss Bobrovski, 304 Newbury Street, #397, Boston,
MA. This is the address of a Mai'l Boxes Etc.

8. Based on this complaint, on Friday, November 5, 2004, law enforcement agents
surveilled box number 397 at the Mail Boxes Etc., located at 304 Newbury Street, which was
allegedly being used to receive the packages purchased with the credit card reportedly being
used without authorization They observed a male retrieve 3 packages from this mailbox and
then followed him. Once in Brighton, Massachusetts, they observed the man deliver the 3
packages to another individual, later identified as Oleksiy Sharapka. Sharapka accepted the
packages and handed the man an envelope later found to contain $l400 in cash. The law
enforcement officers followed Sharapka to 67 Euston Road, Brighton, Massachusetts. He was
Stopped on the front porch of the residence as he attempted to enter the premises Once

becoming aware of the identities of the officers, Sharapka asked if they could continue the

conversation inside.

 

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9. Sharapka brought the law enforcement agents to his residence located on the
second floor of 67 Euston Road, Brighton, Massachusetts. The apartment was shared by

Sharapka and two other individuals (“thc roommates”), each of whom had their own bedroom
According to the roommates, they found Sharapka through the internet and did not know him
Well,_ nor had he been living there long. Sharapka gave oral and Written consent to allow the
search of his bedroom in the apartment The room was virtually stacked full of cardboard boxes
bearing names such as Dell, ipod, HP, JVC, Pioneer and like manufacturers and suppliers, which
appeared to contained computer and stereo equipment Also visible in the room were White
business envelopes containing cash, 9 drivers licenses from at least 3 states bearing Sharapka’s
photo, all with different names; and an open, apparently recently used laptop computer with a
read/write scanning device attached to it (the computer and scanning device for Which authority
to search is herein sought). A read/write scanning device is used to read or imprint information
onto o_r from a magnetic strip such as those found on credit cards or ATM cards.

10. Pursuant to Sharapka’s consent, the agents and law enforcement officers seized,
i_.n_t_e_r alia, the following: the boxes; the laptop computer and the read/write scanning device
described above; several White envelopes on which were written series of numbers that appeared
to be ATM or credit card PIN numbers; the white envelopes containing cash and other cash, all
of which totaled approximately $l4,000; Netspend cards which allow the possessor to access any
cash held in the corresponding account; 19 credit cards, Which bore either no name or a name
other than Sharapka; individual envelopes containing what appeared to be “ID kits” (including
items such as bank cards, credit cards, Netspend cards, and pieces of paper which included bank
account information pin numbers, credit limits, etc.); and a stack of 59 white cards with

magnetic strips, each of which bore a number which appeared to correspond to a list of pin

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numbers found on_ another sheet of paper. At least 3 of the seized bank/credit cards bore the
name Deniss Bobrovski which was the name identified by the initial complainant as the
individual _Who was ordering the Dell computer using her credit card. Also found were printed
copies of information that appeared to come from a computer including order confirmations;
ICQ or chat instant messaging communications, personal identifying information including dates
of birth, social security numbers, credit card numbers, passwords and other information
indicating potential victims of identity theft. l

ll. Sharapka was placed under arrest at his home on November 5, 2004. He is
currently in the custody of the Sheriff of Suffolk County, having been charged With identity theft
, and is being held at the Nashua Street Jail. Subsequent to his arrest, Sharapka was interviewed
by law enforcement agents. Sharapka, who had initially identified himself as Andrew
Schwamkoff, told the interviewing agents that his true name Was Oleksiy Sharapka._ 1-1e admitted
that he used the name Alexis Llanos, consistent with the fact that he possessed a Michigan
driver’s license in the name Alexis Llanos and bearing Sharapka’s photo and a Citizen’s Visa
access card in that name as well. Sharapka further stated that in May 2004, he had been charged
with fraud following an arrest by the Secret Service in Atlanta, Georgia. Sharapka explained
that he was a middle man for the equipment found in his room and that he ordered it using
information supplied to him through ICQ instant messaging.

12. Based on subsequent investigation by myself- and other law enforcement agents, 1
know the following:

A. That renting a mail box at Mail Boxes Etc. requires the renter to provide

Mail Boxes Etc. With a telephone number and picture 1D.

 

 

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B._ That when items are ordered on-line through the computer, the purchaser
must also provide a telephone number. To the extent that law
enforcement has thus far been able to verify with the shippers, each of the
packages found in Sharapka’s room in his apartment as well as the
packages picked up by the runner on the day of Sharapka’s arrest all
contained products ordered on~line and using a computer.

C. That when applying to rent the mail box at the Mail Boxes Etc. at 304
Newbury Street,-the applicant used the address of 735 Broadway, number
74, Malden, MA and the name Deniss Bobrovski. 735 Broadway is the
Town Line lnn. Also found in Sharapka’s room was an apartment lease
that purported to be an agreement between Andrew Schwamkoff as lessor
and Deniss Bobrovski as lessee for the rental of apartment 74 at 735
Broadway, Malden, MA. When law enforcement questioned an employee
at The Town Line lnn, she provided them with the mail that had
accumulated for “the Russians,” who had stayed in room 74, since they
had last been there. This mail consisted of 10 unopened envelopes from l
Netspend to Aleksei Uskov (4), Andrei Volgin (3) and Deniss Bobrovski
(3), all of which feel as though they contain additional Netspend cards.

13. The Fed Ex package addressed to Alexis Llanos and for which authorization to
search is herein in sought was recovered by law enforcement agents from a Mail Boxes Etc.,
located at 1085 Comrnonwealth Avenue in Boston. Agents went to this location after being
informed by a worker at the Mail Boxes Etc. at 304 Newbury Street that the Russians who

rented boxes at 304 Newbury also rented boxes at other locations including the Mail Boxes Etc.

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at 1085 Cornrnonwealth Avenue. Based on the feel of the exterior of the package, it appears to
contain a card in the shape of a credit card or a license.
PROCEDURES FOR COMPUTER SEARCH

14. Based upon my knowledge, training and experience, I know that searching and
seizing information from computers often requires a qualified computer expert in a laboratory or
other controlled environment to search electronic storage devices (along with related
peripherals).

a. The volume of evidence, Computer storage devices (like hard disks, diskettes, tapes,
and laser disks) can store the equivalent of thousands of pages of information Additionally, a
suspect may try to conceal criminal evidence; lie or she might store it in random order with
deceptive file names. This may require searching authorities to examine all the stored data to
determine which particular files are evidence or instrumentalities of crime. This sorting process
can take weeks or months, depending on the volume of data stored, and it would be impractical
to attempt this kind of data search on site.

b. Technical requirements Searching computer-systems for criminal evidence is a highly
technical process requiring expert skill and a properly controlled environment The vast array of
computer hardware and software available requires even computer experts to specialize in some
systems and applications, so it is difficult to know before a search of computer hardware and
software which expert is qualified to analyze the system and its data. in any event, however, data
search protocols are exacting scientific procedures designed to protect the integrity of the

evidence and to recover even “hidden,” erased, compressed, password~protected, or encrypted

files. Since computer evidence is extremely vulnerable to inadvertent or intentional modification

 

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or destruction (bo_th from external sources or from destructive code imbedded in the system as a
“booby trap”), a controlled environment is essential to its complete and accurate analysis

15. ` This is true because data analysts may use several different techniques to search
electronic data for evidence and instrumentalities of crime. These include, but are not limited to
the following: examining file directories and subdirectories for the lists of files they contain;
“opening” or reading the first few “pages” of selected files'to determine their contents; scanning

for deleted or hidden data; and searching for key words or phrases (“string searches”).

CONCLUSION

16. Based on the foregoing facts, to the best of my knowledge and belief, there is
probable cause to believe that a search of the items described above and in Attachment B, will
result in the recovery of property that constitutes evidence, fruits and instrumentalities of
criminal activity, as more fully set forth in Attachrnent C, all of which will be material to an
ongoing investigation of criminal violations of Title 18 U.S.C. § 1029.

17. Further, based on the foregoing facts, 1 believe that there is probable cause to
believe that Oleksiy Sharapka, a/k/a/ Andrew Schwamkoff has committed violations of Title 18,
United States Code, Section 1029 (Fraud and Related Activity in Connection with Acoess

Devices).

 

Special Agent
Federal Bureau of 1nvestigation

Sworn to and subscribed before me
on this 151h day of November, 2004.

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§SOYQ€ l_om>ou fi/eXHND€lL9

 

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.1 OYCE LONDON ALEXANDER
United States Magistrate Judge

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ATTACHMENT c `

I'I`EMS 'I`O BE SEIZED

Any and all documents data, information or communications in any form, and any and
all software, hardware, or other items evidencing, _or constituting instrumentalities or fruits of,
Fraud and Related Activity in connection with Acoess Devices, in violation of 18, United States
Code, Section 1029, including but not limited to the following; the specific items to be seized
from each of the search locations or items to be searched (as fully described in Attachment B)
are particularly described and set forth as follows:

A From the HP Pavilion Lantop computer :

Any and all computer log files stored electronic communications including e~mail and
ICQ messages e-mail, ICQ, and other address books internet history files temporary internet
files internet “favorite” files word documents text documents excel spreadsheets and other
files evidencing shipping and delivery addresses and payments personal information names and
addresses credit card accounts numbers and passwords including encrypted files as well as
software for encoding financial information onto magnetic stripes typically used on bank and

credit cards

B. The scanner` model number MSRZ06-31-1L
information stored in memory relating to personal information card numbers “PIN”

number and other information typically encoded on bank and credit cards as well las other

official identification cards

 

 

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C. Fed Ex package and the envelopes

 

Contents,

D. 59 white plastic cards

lnformation stored on the magnetic strip relating to personal information card numbers

“PIN” number and other information typically encoded on bank and credit cards

E. 6 cellphones

All information contained in memory, including calls made, received and missed, saved

messages whether text or voice, personal stored information telephone settings memos names

addresses and telephone numbers in stored address book, and information in date book.

 

 

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ATTACHMENT B

DESCRIPTION OF PROPERTY TO BE SEARCHED

A. l An HP Pavilion Laptop computer, model ZX5280US, serial number
CND4260DCC, taken from the residence of Oleksiy Sharapka, 67 Euston Rd, 2nd
floor, Brighton, MA on November 5, 2004.

B. The scanner, model number MSRZ06-3HL, serial number A009524, taken from
the residence of Oleksiy Sharapka, 67 Euston Rd, 2nd floor, Brighton MA on
November 5, 2004.

C. Fed Ex package addressed to Alexis Llanos, 1085 Commonwealth Avenue, _#169,
Boston, MA 02215, from Kinko’s 0169, Waterville, Ohio, which was seized from
the Mail Boxes Etc. located at 1085 Cornmonwealth Avenue, #169, Boston, MA
02215.

D. 59 white plastic cards each With an encodeable magnetic strip, taken from the
residence of Oleksiy Sharapka, 67 Euston Rd, 2nd floor, Brighton, MA on
November 5, 2004.

E. Five T-mobile cellphones, including 3 Nokia telephones 1 Samsung telephone
and l Sony telephone, each of which was taken from the residence of Oleksiy
Sharapka, 67 Euston Rd, 2nd floor, Brighton, MA on November 5, 2004.

F. Ten unopened envelopes sent from Netspend Corporation P.O. Box 425 89,

Austin Texas 78704 to the following names: Deniss Bobrovski (3); Andrei

Volgin (3); and Aleksei Uskov (4), all of Which feel as though they contain a

 

 

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Netspend card, obtained from the Town Line 1nn, 735 Broadway, Malden, MA.

G. Gne Samsung flip telephone which is currently in the custody of the Nashua

Street jail, amongst the personal possessions of Oleksiy Sharapka, a/k/a Andrew

Schwamkoff.

 

 

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°§JS 45 (5/97)-(Revrsed USAO MA lll /04)

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: BOST()N Category No. 2 Investigating Agency F B I.
City BOSTON Related Case Information: v
County SUFFOLK Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R ZO/R 40 from District of

 

 

 

Defendant lnformation:
Defendant Name oLEstY sHARAPKA Juvenne l:| Yes No
Alias Name ANDREW scHWAMKoFF

Address 67 Euston Road, 2“cl Floor, Brighton, l\/lA
Birth date (Year only): SSN (last 4 #): Sex M Race: Nationality:

Defense Counsel if known: Address:

 

 

 

Bar Number:

 

U.S. Attorney Information:

AUSA Allison Burroughs and Jeff Auerhahn Bar Number if applicable

 

Interpreter: I:| Yes No List language and/or dialect:

 

Matter to be sEALED: |j Yes No
Warrant Requested |:| Regular Process ln Custody

Location Status:

 

 

 

 

 

 

Arrest Date: NOVEMBER 5, 2004

|:| Already in Federal Custody as in

|:| Already in State Custody Nashua Boston Ma |:| Serving Sentence |:| Awaiting Trial
l::l On Pretrial Release: Ordered by on

Charging Document: Complaint l:| Information |:| Indictment
Total # of Counts: l:| Petty |:| Misdemeanor |:| Felony

Continue on Page 2 for Entry of U.S.C. Citations

ij l hereby certify that the case numbers of any prior proc edings before a Magistrate Judge are
accurately set forth above.

Date: 11-15-04 Signature of AUSA: VC, [\\

 

 

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§JS 45 (5/97) - (RLised USAO MA 3/25/02) P§ge 2 of 2 Ol° Reverse

District Court Case Number (To be filled in by deputy clerk):

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Name of Defendant OLEKSIY SHARAPKA, A/K/A ANDREW SCHWAMKOFF

U.S.C. Citations
Index Key/Code Description of Offense Charged

Set 1 18 U.S.C. 1029

Set 2

Count Numbers

 

Set 3

 

Set 4

 

Set 5

 

Set 6

 

Set 7

 

Set 8

 

Set 9

 

Set `10

 

Set ll

 

Set 12

 

Set 13

 

Set 14

 

Set 15

 

ADDITIONAL INFORMATION:

 

